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  8                            UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    CARMEN ALVARADO,                                        CASE NO. 08cv0631-LAB
                                                               [Related Case No. 06cr1195]
 12                                      Petitioner,
                 vs.                                           ORDER DENYING MOTION FOR
 13                                                            REDUCTION OF SENTENCE
 14    UNITED STATES OF AMERICA,
 15                                   Respondent.
 16
 17          Petitioner Carmen Alvarado pleaded guilty to Count 2 (conspiracy to bring in illegal
 18   aliens for financial gain) and to Count 14 (filing false tax return) of the Indictment in criminal
 19   Case No. 06cr1195-LAB, with judgment entered April 9, 2007, following proceedings before
 20   the undersigned District Judge. (Dkt. Nos. 115, 194.) Pursuant to Fed. R. Crim. P. 36, the
 21   Court amended the sentencing order on June 26, 2007 to accurately reflect the sentence
 22   imposed. (Dkt. No. 198.)1
 23   ///
 24
 25          1
               Rule 36 provides “After giving any notice it considers appropriate, the court may at
      any time correct a clerical error in a judgment, order, or other part of the record, or correct
 26   an error in the record arising from oversight or omission.” (emphasis added) Petitioner was
      actually sentenced to two terms of 30 months, concurrent. (Dkt. No. 192 (minute entry for
 27   April 2, 2007 showing Petitioner was sentenced to two 30-month terms, concurrent.) The
      order entered in the docket on April 9, 2007 erroneously said she had been sentenced to two
 28   terms of 33 months, concurrent. The order issued June 26, 2007 merely corrected a clerical
      error to show what sentences were in fact imposed; it did not modify those sentences.

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  1          On April 4, 2008, a year after sentencing, Petitioner filed a Motion To Reduce
  2   Sentence (the "Motion") pursuant to 18 U.S.C. § 3582. Under § 3582(c)(1)(B), with certain
  3   exceptions not applicable here, the Court has only seven days within which to modify a
  4   sentence. United States v. Penna, 319 F.3d 509, 512–13 and n.3 (9th Cir. 2003) (citing Fed.
  5   R. Civ. P. 35(a)). Petitioner mentions her unfamiliarity with the law and rules of procedure.
  6   (Motion at 1:17–2:5.) As explained in United States v. Barragan-Mendoza, 174 F.3d 1024,
  7   1030 (9th Cir. 1999), the seven-day period is a limit on the Court's ability to act. Therefore,
  8   even if Petitioner's confusion about the relevant rules and statutes provided a reason to toll
  9   the seven-day period (and it does not, see Fed. R. Civ. P. 45(b)(2); Raspberry v. Garcia, 448
 10   F.3d 1150, 1154 (9th Cir. 2006)), the Court could not now grant her the relief she seeks.
 11          Petitioner also quotes language from 28 U.S.C. § 2255(e) (Motion at 7:6–16) but
 12   emphasizes she wishes to bring her Motion pursuant to § 3582, not § 2255. (Id. at
 13   7:17– 20.) For no clear reason, she specifically emphasizes the provision permitting a court
 14   besides the sentencing court (i.e., this Court) to consider her application for relief. (Id. at
 15   7:14–16.) Even if the Court were to construe Petitioner's Motion as having been brought
 16   under § 2255, however, it would be denied. By its terms, relief under § 2255 is available only
 17   where a petitioner claims
 18          the right to be released upon the ground that the sentence was imposed in
             violation of the Constitution or laws of the United States, or that the court was
 19          without jurisdiction to impose such sentence, or that the sentence was in
             excess of the maximum authorized by law, or is otherwise subject to collateral
 20          attack . . . .
 21   § 2255(a).
 22          The Motion explains at length why Petitioner believes her sentence was unjust or
 23   unwise and why she believes the Court should reweigh the factors set forth in 18 U.S.C.
 24   § 3553 and resentence her. (Motion at 3:11–6:26.) The Motion raises no basis for relief
 25   under § 2255, however.
 26          Petitioner also argues she needs medical care to repair an injury to her hands, but is
 27   afraid to have surgery. (Motion at 3:23–28, 4:3–5.) If Petitioner believes she is being denied
 28   adequate medical treatment, she may bring an action under 42 U.S.C. § 1983; neither a


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  1   motion pursuant to § 3582 nor a petition under § 2255 is the proper method of challenging
  2   conditions of confinement.
  3         The Motion is DENIED.
  4         IT IS SO ORDERED.
  5   DATED: December 3, 2008
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  7                                             HONORABLE LARRY ALAN BURNS
                                                United States District Judge
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